                EXHIBIT D




Case 3:20-cv-00710-FDW-DSC Document 10-7 Filed 01/21/21 Page 1 of 2
                                       Sourcing Solutions                 Services & Membership                              Help                                                                 On Alibaba                            Sign In Join Free               Order                      English   -   USD


13   YRS
                 Ningbo C.f Electronic Tech Co., Ltd.                              Favorite Supplier                                                                                                                                                                                  Gold Supplier




                                                                                                                                                                                                                                                                                                                        Contact
                                                                                                                                                                                                                                                                                                                        Supplier



      Home          Products                   Profile                        Contacts                   Feeds                                                                                                                                                                                                           Leave
                                                                                                                                                                                                                                                                                                                       Messages



                                                                                                                                                                                                                                                                                                                       Browsing
                                                                                                                                                                                                                                                                                                                        History




                   Certificates




                   Company Introduction

                                                                                             Verification Type:                                  Onsite Check
                                                                                                                                                                                                                                              Mr. Richard Chen

                                                                                                   Business Type:                                    Manufacturer, Trading Company
                                                                                                                                                                                                                                              Leave Messages
                                                                                                   Country   /   Region:                             Zhejiang, China

                                                                                                   Year Established:                                 2006                                                                                         Contact Supplier
                                                                                                   Total Annual Revenue:                             US$2.5 Million         -   US$5 Million

                                                                                                   Recent Transactions:                              25                                                                                                Start Order
                                                                                                   Main Products:                                    Pool Chlorinator,Salt Water Chlorinator,Salt Water

                                                                                             Learn more about us



                   Contact Customer Service




                         Richard                              Ruby Wang                                  Holy Chen                                                Danielle



                   Choose Your Language




                   Recommend Products




                   Swim Pool Alarm NF and ASTM Certifi...
                   Min. Order: 1 Unit/Units
                   FOB Price: US $60 - 60 / Unit


                   New Products



                   Product Showcase




                                                                                                                                                                                                                                                      See all products in showcase


                   Installation




                                                               Main Products



                   Product Categories
                   Brands CellSaltReplacement
                   Intelligent      Chlorinator

                   Economic Salt Chlorinator

                   In Ground Salt Chlorinator

                   Above Ground Salt Chlorine Generator

                   Chlorinator Cells

                   Swimming Pool Pump                           Swim Pool Alarm NF and ASTM Certifi...
                                                                Min. Order: 1 Unit/Units
                   Wireless Pool Alarm                          FOB Price: US $60 - 60 / Unit

                   Floating Pool Light

                   15Amp Pool Timer                              Email to this supplier
                   20Amp Pool Timer
                                                                                      To:         Richard Chen
                   Copper Silver Ionization                               *   Message:
                   Others

                   Ungrouped

                   See All Categories


                   Certificate
                                                                                              Your message must be between 20-8000 characters
                                                                                                   agree to share my Business Card to the supplier.
                                                                                                    I




     Alibaba.com Site: International      -   Español    -   Português         -   Deutsch    -   Français           -   Italiano           -   हिंदी - Pусский         -       한국어           -   日本語           -   ‫اللغة العربية‬   -   ภาษาไทย   -   Türk   -   Nederlands   -   tiếng Việt   -   Indonesian      -

                                                                                                                                                    ‫עברית‬

                                                                                             AliExpress          |       1688.com                |   Taobao Global               |   Alipay       |   Lazada

                                                                    Browse Alphabetically: Onetouch                                 |           Showroom      |   Country Search                       |   Suppliers        |   Affiliate

                                       Product Listing Policy         -       Intellectual Property Protection                          -       Privacy Policy      -       Terms of Use                   -   User Information Legal Enquiry Guide

                                                              © 1999-2020 Alibaba.com. All rights reserved.                                                  浙公网安备                      33010002000092号                             浙B2-20120091




                                                             Case 3:20-cv-00710-FDW-DSC Document 10-7 Filed 01/21/21 Page 2 of 2
